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 1           host.

 2      BY MS. HUNDREDMARK:

 3           Q     I'm sorry.     I think that distracted me a bit.

 4      What is your current job title?           Is it manager?

 5           A     Yes.

 6           Q     And how long have you been the manager of the

 7      hotel?

 8           A     Since 2017.

 9           Q     And prior to 2017, who was the manager?

10           A     Raman Bhai.

11           Q     Is that the individual earlier we referred to

12      as Raman Patel?

13           A     Yes.

14           Q     And prior to your becoming a manager -- well,

15      let me take -- when did you take over the role of

16      manager in 2017; do you recall?

17           A     When it converted into the America Best Value

18      Inn.

19           Q     You mean when the franchise switched over from

20      being a Super 8 to America's Best, you took over as

21      manager; is that right?

22           A     Yes, that's correct.

23           Q     And what was the reason for the decision to

24      change you to the manager role at that time?

25           A     Because I was doing all the work.          That's why.
                                                                            16

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 1           Q      And so this is just a more close-up view of

 2      what we were looking at before, which shows the front

 3      side and the night window and the office; correct?

 4           A      Yes, that's correct.

 5           Q      If we look at page 4, what view of the hotel

 6      are we looking at here?

 7           A      Back side.

 8           Q      And so this over here where the rooms are,

 9      you're saying that's the back side of the hotel?

10           A      Yes, that's correct.

11           Q      And are those rooms, then, odd-numbered rooms?

12           A      Yes.

13           Q      This entryway, driveway, is this the only

14      driveway in and out of the property?

15           A      Yes.

16           Q      So anyone that's going to drive on the

17      property has to come through this driveway on page 4;

18      right?

19           A      Yes, that's correct.

20           Q      And from the front office, is there a view,

21      then, of this driveway?            Can you see this driveway

22      clearly?

23           A      Yes.

24           Q      And let's see.         Page number 5, this is an

25      aerial view of kind of the area where what is now
                                                                                  29

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 1      Eric Felder case; correct?

 2           A     Yes, that's correct.

 3           Q     And are you aware that the hotel also gave a

 4      deposition in that case?

 5           A     Yes.

 6           Q     And in that deposition -- that deposition for

 7      the hotel was in 2019.

 8           A     Yes.

 9           Q     The hotel was asked "do you have any security

10      training," and the hotel answered "we don't have any

11      security training."

12           A     Okay.    That's correct.

13           Q     And was that testimony true at the time?

14           A     Yes.

15           Q     And so prior to 2019, the hotel did not have

16      any security training; correct?

17           A     Yes, that's correct.

18           Q     Is that still true today?

19           A     Yes.

20           Q     So, currently, you don't -- you haven't had

21      any additional security training?

22           A     No.

23           Q     Do you have any written training policies?

24           A     No.

25           Q     Do you have any written policy regarding sex
                                                                         65

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 1      trafficking?

 2           A     No.

 3           Q     Do you have any policy for guests to record

 4      any incidents?

 5           A     Only through the phone.

 6           Q     And how does a guest know that that's what

 7      they're supposed to do?

 8                 MR. HARRIS:      Objection.

 9                 Go ahead.

10           A     Okay.    I did not understand the question.

11           Q     You indicated in your prior response that you

12      have -- the guests can report incidents through the

13      phone.    Do you have any communication with guests

14      informing them that's what they're to do?

15           A     Well, just to give example, if there is any

16      fight going on in the parking lot or in their rooms,

17      then, you know, they can let us know by the phone.

18           Q     Do you inform the guests that that's what

19      they're to do in any way?

20           A     No.

21           Q     Does each room have a phone?

22           A     Yes.

23           Q     Now, I'm going to -- want to go through some

24      general principles to guide kind of the rest of our

25      discussion today.
                                                                         66

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 1           A      I could not be able to say on that, that, you

 2      know, if it's happening or if it's not.

 3           Q      At what point is prostitution a problem for a

 4      hotel?

 5                  MR. HARRIS:       Objection.

 6           A      I did not understand the question.

 7           Q      At what point do you think a hotel should do

 8      something about prostitution occurring at its hotel?

 9           A      Then you would put the person in the

10      do-not-rent list.

11           Q      When does continuous prostitution at a hotel

12      require that hotel to do something in response?

13                  MR. HARRIS:       Objection.

14           A      Within the -- within one or two days, we can

15      find out.

16           Q      And what do you mean by that?

17           A      (In English)       Like too many traffic going on

18      in one room.      Traffic means people in and out.                 Those

19      people we --

20                  THE INTERPRETER:         Like --

21                  MR. HARRIS:       Gujarati.

22                  THE WITNESS:       (In English)        Sorry.

23           A      So if we rent -- if we have rented the room

24      and if we see a lot of traffic going in and out of the

25      room -- like a lot of men going in and out of the
                                                                                   69

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 1      room -- you know, so then if we find that out, then we

 2      would not rent them the room anymore.

 3           Q      So, then, if there's too much traffic going in

 4      and out of the room, that would be a sign of

 5      prostitution?

 6           A      Well, I cannot say that for -- I myself cannot

 7      say that for sure.         But we wouldn't know what is

 8      happening inside the room.

 9           Q      What other signs would you look for to

10      determine whether a guest is engaging in prostitution?

11           A      Well, in my knowledge, I would not be able to

12      know.

13           Q      Okay.     When asked previously about when --

14      when it would require a response, you said within one

15      to two days, you would see a lot of traffic.                    So I

16      guess I'm confused as to what you mean by that.

17           A      So what I meant to clarify my question is that

18      we rent the room to two people, and then if we see

19      beyond those two people, if there are, like, three,

20      four, five people going in and out, you know, that is

21      when we would see, and then that's when we would not

22      rent them the room.

23           Q      So if you see more than two people, what do

24      you do in response to that?

25           A      So if we see an extra person, then we charge
                                                                                 70

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 1      then we would ask them to pay $10 extra.

 2                  So we would -- when we see that without the

 3      front desk permission if there are more people that are

 4      entering the room.

 5           Q      Okay.     How many people would be too many

 6      people going in and out of a room?

 7           A      So if there are two people that have checked

 8      in but if it is, like, the fourth or the fifth or the

 9      sixth person going in and out of the room.

10           Q      And what do you do at that point?

11           A      Next day we ask them to check out.

12           Q      Have you ever suspected someone of engaging in

13      prostitution at the hotel?

14           A      No.

15           Q      Not once?

16           A      No.

17           Q      So then have you ever actually removed someone

18      from the hotel for engaging in prostitution?

19           A      Not particularly on this point, but if we find

20      out, then we would.

21           Q      And what do you mean by that, if you find out?

22           A      First of all, it would be

23           A      (In English) In my knowledge, I don't know

24      anything.

25           A      So in my knowledge, first of all, do we find                 72


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 1      out what's going on inside the room?               That I would not

 2      know.

 3           Q     But you indicated that if you find out, you

 4      would not rent to them.        How would you find out?

 5           A     I don't have an answer to that question.

 6           Q     Have you ever called the police for someone

 7      engaging in prostitution?

 8           A     No.

 9           Q     Does the hotel know what a pimp is?

10           A     Yes.

11           Q     And what is it?

12           A     A pimp is somebody that makes an underage girl

13      of 13 years to have sex or sell themselves to have sex.

14           Q     And what signs does the hotel look out for to

15      determine if someone is a pimp?

16           A     To my knowledge, I don't have this knowledge,

17      not -- I mean, what would be going on in the hotel it

18      would be -- it would be.

19           Q     So do you believe that, in order to find out

20      that there's prostituting, you'd have to be inside the

21      room?

22           A     Yeah.    I would not know what's going on

23      inside.

24           Q     So apart from being inside the room, do you

25      believe that you have an ability to know if there's
                                                                              73

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 1      prostitution going on on the property?

 2           A     I don't know.

 3           Q     Have you ever seen anyone that you thought was

 4      a pimp on the property?

 5           A     No.

 6           Q     Does the hotel know what sex trafficking is?

 7           A     Yes.

 8           Q     And how does the hotel define sex trafficking?

 9           A     What do you mean by what the hotel means?

10           Q     I just asked if the hotel knew what sex

11      trafficking was.

12           A     Yes, yes.

13           Q     How do you define sex trafficking?

14           A     18 years -- under the age of 18 years,

15      underage girls to have sex.

16           Q     Okay.

17           A     Somebody that forces or asks them to have sex.

18           Q     When did the hotel first learn about sex

19      trafficking?

20           A     When I got the paper about the case.

21           Q     You mean when you got the paper about these

22      cases?

23           A     Yes.

24           Q     And these cases were filed in 2022; correct?

25           A     Yes.
                                                                         74

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 1           Q      Does the hotel know whether sex trafficking is

 2       a problem in the Atlanta area?

 3           A      Yes.

 4           Q      Is the hotel aware that sex trafficking is in

 5       the hotel business?

 6                  MR. HARRIS:     Objection.

 7           A      Yes.

 8           Q      Does the hotel know that sex trafficking is

 9       common in the economy sector?

10           A      Yes.

11           Q      And just to clarify, though, the hotel didn't

12       know what sex trafficking was until these cases were

13       filed in 2022?

14           A      Did not -- well, it would have been happening,

15       but I did not know before the documents were filed.

16           Q      It may have been happening.             What do you mean

17       by that?

18           A      I don't know the answer to this question.

19           Q      Well, you said it -- as in sex trafficking --

20       may have been happening, but you didn't know until

21       these cases were filed.        What do you mean by that?

22           A      Well, I did not -- I was not aware of it

23       before.

24           Q      Was the hotel aware of sex trafficking in

25       general?
                                                                               75

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 1           A      No, did not know.

 2           Q      What signs does the hotel look for to

 3       determine whether a guest is being sex trafficked?

 4           A      I don't know that.

 5           Q      I think prior you said that more traffic would

 6       be an indication of prostitution.           Would that also be

 7       an indication of sex trafficking?

 8           A      I don't know those questions.

 9           Q      Would you agree that signs of prostitution and

10       signs of sex trafficking can be the same?

11                  MR. HARRIS:     Objection.

12           A      No.   There is difference.

13           Q      What is the difference?

14           A      One is that somebody would force you into; and

15       the other would -- the other one would be where the

16       woman would be willing to sell body for sex.

17           Q      And how would you, as the hotel, see signs

18       that they were different?

19           A      I -- I don't know.

20           Q      Have you ever suspected anyone of being sex

21       trafficked at the hotel?

22           A      No.

23           Q      If you don't know the difference between signs

24       of prostitution and signs of sex trafficking, how do

25       you respond to commercial sex on the property?
                                                                          76

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 1                  MR. HARRIS:     Objection.      Objection.

 2           A      I don't know this.

 3           Q      Okay.   You said that the distinction between

 4       the two was somebody being forced; right?

 5                  (The Interpreter interprets the question to

 6           the witness.)

 7           Q      How does the hotel determine if someone is

 8       voluntarily engaging in commercial sex or if someone is

 9       being forced?

10           A      I -- I would not know.

11           Q      So the hotel knows of nothing it could do to

12       determine if a prostitute was a sex trafficking victim?

13           A      No.   They would not know.

14           Q      Have you ever called the police to report that

15       someone has been sex trafficked on the property?

16           A      No.

17           Q      Would you then -- I think, based on your prior

18       testimony, you said you wouldn't know if something is

19       prostitution unless you were in the room; correct?

20                  MR. HARRIS:     Objection.

21           A      I don't know this question.

22           Q      Do you believe that you can determine whether

23       someone is being sex trafficked without being in the

24       room with them?

25           A      I don't know.
                                                                          77

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 1           Q      Mr. Patel, I'm going to continue with just

 2       some more questioning.

 3                  Does the hotel know that victims may show

 4       signs of abuse, like malnourishment or poor hygiene?

 5           A      No.

 6           Q      Does the hotel know that victims may be

 7       scantily dressed and have little luggage?

 8                  MR. HARRIS:     Objection.

 9           A      No.

10           Q      Does the hotel know that traffickers may

11       constantly monitor victims' movements?

12                  MR. HARRIS:     Objection.

13           A      No.   I don't know.

14           Q      Does the hotel know that victims may be

15       without money or identification?

16                  MR. HARRIS:     Objection.

17           A      No.

18           Q      Does the hotel know that victims do not

19       personally interact with hotel staff or employees?

20                  THE INTERPRETER:      Can you say that

21           again?

22       BY MS. HUNDREDMARK:

23           Q      Does the hotel know that victims do not

24       personally interact with hotel staff or employees?

25           A      No.
                                                                          92

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 1                  MR. HARRIS:     Objection.

 2       BY MS. HUNDREDMARK:

 3           Q      Does the hotel know that many victims' failure

 4       to interact with hotel staff makes their identification

 5       difficult?

 6                  MR. HARRIS:     Objection.

 7           A      No.   I don't know.

 8           Q      Does the hotel know that many victims use side

 9       or rear entrances to avoid being detected?

10                  MR. HARRIS:     Objection.

11           A      No.   I don't know.

12           Q      Does the hotel know that victims of sex

13       trafficking often refuse room service and housekeeping?

14           A      I don't know.

15                  MR. HARRIS:     Objection.

16       BY MS. HUNDREDMARK:

17           Q      Does the hotel know that victims of sex

18       trafficking may make excessive requests for clean

19       sheets and towels?

20                  MR. HARRIS:     Objection.

21           A      No, no.

22           Q      Does the hotel -- sorry.         Strike that.

23                  Is the hotel aware that housekeeping may

24       notice an unusually high number of contraceptives in

25       the trash cans of sex trafficking victims?
                                                                          93

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 1                  THE INTERPRETER:      Can you say that

 2           again, please?

 3                  MS. HUNDREDMARK:      Maybe.

 4       BY MS. HUNDREDMARK:

 5           Q      Is the hotel aware that housekeeping may

 6       notice an unusually high number of contraception

 7       devices in the trash cans of sex trafficking victims?

 8                  MR. HARRIS:     Objection.

 9           A      No.

10           Q      Is the hotel aware that it should look out for

11       an inordinate amount of foot traffic to and from a

12       room?

13                  THE INTERPRETER:      What word was that?

14           Is that "normus" or "normus"?           Can you say

15           that again, please?

16       BY MS. HUNDREDMARK:

17           Q      Is the hotel aware that it should look for an

18       inordinate -- "inordinate," I think, is the word --

19       amount of foot traffic to and from a room?

20                  THE INTERPRETER:      I'm not going to

21           have a direct word for that, "inordinate."

22           So can you use something else in place of

23           that?

24                  MS. HUNDREDMARK:      Okay.

25       BY MS. HUNDREDMARK:
                                                                          94

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 1           Q      Is the hotel aware that it should keep an eye

 2       out for extraordinary foot traffic going to and from a

 3       room?

 4           A      Which traffic?

 5           Q      Foot traffic.

 6           A      I mean, we can see in the camera.

 7           Q      And do you keep track of what you see on the

 8       camera?

 9           A      Well, front desk has been instructed for them

10       to check the camera.

11           Q      And they're checking the cameras for this

12       extra foot traffic?

13           A      Yes.

14           Q      And what does this extra foot traffic tell

15       them?

16                  MR. HARRIS:     Objection.      Asked and

17           answered.

18           A      I don't know about that.

19           Q      Has the hotel seen rooms with extra foot

20       traffic?

21           A      No.

22           Q      Should hotels and motels provide training on

23       sex trafficking to their employees?

24           A      If there is a training.         I don't know this

25       question.
                                                                          95

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 1           Q      As in you don't understand the question, or

 2       you don't have an answer?

 3           A      I don't have an answer.

 4           Q      So you don't have an answer as to whether a

 5       hotel should provide training on sex trafficking to

 6       their employees?

 7           A      No.

 8           Q      Should a hotel have a written human

 9       trafficking policy?

10           A      No.    We don't.

11           Q      Should you have one?

12           A      Are you asking that we should have it?

13           Q      I'm asking if the hotel believes it should

14       have one.

15           A      Well, I said yeah, they should have one.

16           Q      Do you believe or does the hotel believe that

17       monitoring online reviews is a smart preventative

18       measure?

19           A      Yes, it is.

20                  MR. HARRIS:     Objection to the

21           question.

22       BY MS. HUNDREDMARK:

23           Q      Does the hotel believe that sex trafficking is

24       a risk in any motel?

25           A      Yes.
                                                                          96

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 1             Q    Would you or does the hotel agree that

 2       prostitution can attract violent crime?

 3             A    Yes, that's correct.

 4             Q    If a hotel knows that violent crime is

 5       occurring at the hotel, should the hotel act to stop

 6       it?

 7             A    Yes.

 8                  MR. HARRIS:        Objection.

 9       BY MS. HUNDREDMARK:

10             Q    If a hotel knows that dangerous, illegal

11       activity is occurring at its hotel, should the hotel

12       act to stop it?

13             A    Yes.      They should stop it.

14             Q    If the hotel knows that guests are being

15       assaulted at its hotel, should the hotel act to stop

16       it?

17             A    Yes.

18                  MR. HARRIS:        Objection.

19       BY MS. HUNDREDMARK:

20             Q    If a hotel knows that prostitution is

21       occurring at its hotel, should the hotel act to stop

22       it?

23             A    Yes.      They should try to.

24             Q    Okay.     Can you tell me, Mr. Patel:              Did the

25       hotel take any specific new action in 2011 to deter
                                                                                  97

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 1             A    Entering into the office.              They cover all the

 2       area.

 3             Q    How about the parking lots?               Which cameras

 4       monitor the parking lots?

 5             A     The four corners, the four corners of the

 6       building.     That's where the cameras are.

 7             Q    In 2015 when you had four cameras, where were

 8       those four cameras?

 9             A     The four corners of the property.

10             Q    And so is that the -- when you say "the four

11       corners," are those the ones that you've identified as

12       doing the parking lot?

13             A    Yes.

14             Q    Okay.     2017, what -- which -- did you have the

15       full set of cameras that you have now in 2017?

16             A    No.

17             Q    Okay.     Which ones did you have in 2017?

18             A     The four in the property, around the property.

19             Q    Okay.

20             A    And in the lobby, the ice machine, and then on

21       the       and on the first floor and the second floor.

22             Q    Both sides?

23             A    Yes.

24             Q    Now, in your deposition in the prior case, you

25       indicated that no one monitored the cameras.                   Was that
                                                                                   101

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 1       true?

 2            A     Yes.

 3            Q     And what was the purpose of the cameras if

 4       nobody monitored them?

 5            A     Because the system was not in the office.                     It

 6       was at a different place.

 7            Q     And where was that?

 8            A     It was on the second floor.

 9            Q     Second floor of the property?

10            A     It was in the second floor room.

11            Q     And is that -- does that mean that's where you

12       had the monitors -- was in that second floor room?

13            A     Yes, that's correct.

14            Q     And did that change?

15            A     Yeah.      And then we changed it and brought it

16       to the office.

17            Q     And when was that?

18            A     2016.

19            Q     So did someone begin monitoring them in 2016?

20            A     Yes, the person at the front desk.

21            Q     So was that after the Eric Felder shooting

22       that someone began monitoring them?

23            A     No.       Before.

24            Q     And what prompted you to move the monitors

25       into the office?
                                                                                       102

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 1            fast.    And so if you can please slow down a

 2            little, I would really appreciate that.

 3                  MS. HUNDREDMARK:          Okay.     I'll keep

 4            trying.

 5                  THE INTERPRETER:          Thank you.

 6       BY MS. HUNDREDMARK:

 7            Q     So looking at -- back at Exhibit 10 --

 8            A     This is the front side.

 9            Q     Okay.     So of these pictures --

10            A     In this picture, cannot directly see the room.

11       But it's toward the back side.

12            Q     So this being the back side here -- right? --

13       on Plaintiffs' No. -

14            A     Yeah, yeah.        That's correct.

15            Q     Okay.     So 215 and 217, would that be on the

16       second floor?

17            A     Yes.

18            Q     And is that towards this portion or towards

19       the back portion?

20            A     Back side.       It's the back side.

21            Q     Okay.     So if I'm looking at page 4, the room

22       would be further to the right of this picture on the

23       second floor?

24            A     Yes, that's correct.

25            Q     Okay.     So are you aware that Ms. Woods and
                                                                                  113

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 1       Mr. Brown were arrested for sex trafficking D.H. at the

 2       hotel?

 3           A      I do not remember, but when I received this

 4       paper, that's when I found out.

 5           Q      Did you ever follow these cases once they were

 6       arrested?

 7           A      No.

 8           Q      Why not?

 9           A      It didn't come in my mind.

10           Q      Was the hotel not interested in learning about

11       what had happened?

12                  MR. HARRIS:     Objection.

13           A      No.

14           Q      Did the hotel try to ever learn anything about

15       the victim?

16           A      No.

17           Q      And we provided a copy of the criminal trial

18       transcript to your lawyers.         Are you aware of that?

19           A      No.

20           Q      So I assume that would mean you have not read

21       the trial transcript?

22           A      No.

23           Q      Does the hotel admit that Ms. Woods sex

24       trafficked our client out of its hotel in September of

25       2015?
                                                                          114

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 1            A     That I don't have an answer for.

 2            Q     Who made the decision to require driver's

 3       license?

 4            A     Well, when the police -- when the police said

 5       or instructed, we put this into a policy to require a

 6       driver's license.

 7            Q     And was that after a meeting with police?

 8            A     No.       The police told us verbally.

 9            Q     And when was that?

10            A     In 2016.

11            Q     And what was the occasion in which the police

12       told you that?

13            A     That -- those details I don't recall right

14       now.

15            Q     Do you know if the hotel, then, would have

16       gotten a copy of the ID for Ms. Santresia Woods in

17       2015?

18            A     Must have taken it, but I do not recall.

19            Q     What is the minimum age requirement for

20       someone to rent a room?

21            A     20 years.

22            Q     Is it 20 years or over 20 years?

23            A     Over 20 years.

24            Q     Have you -- has the hotel ever rented a room

25       to a minor?
                                                                                 119

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 1           Q      -- is that do you have monthly subscriptions

 2       to websites for booking reservations?

 3           A      Yes.

 4           Q      And I believe, in your responses, the hotel

 5       indicated it had Booking.com, Expedia.com, Agoda -- and

 6       is it SynXisweb?

 7           A      (In English)     Yeah.

 8           A      Yeah.   This is for every day.

 9           Q      And do you read the reviews that are typically

10       up on those websites?

11           A      Yeah, I do.

12           Q      And have you read any reviews on those sites

13       that indicate that there's been commercial sex

14       occurring at the property?

15           A      No.    I have not seen such.

16           Q      How often do you check the reviews on these

17       websites?

18           A      Once a month and when there is a complaint and

19       a complaint from franchise.

20           Q      Okay.   And when did you start checking those

21       every month?

22           A      When it converted into America's Best Value.

23           Q      Okay.   So prior to that, did you read the

24       reviews more frequently?

25           A      No.    I did not used to.
                                                                          159

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 1           Q      Okay.   I believe, in your prior deposition,

 2       you indicated that you read the reviews daily.            Was

 3       that not true?

 4           A      I must have said.

 5           Q      Okay.   So back then, then, you did review them

 6       daily?

 7           A      I don't remember.

 8           Q      Do you recall any of the rooms indicating that

 9       the hotel -- or any of the reviews indicating that the

10       hotel needed security?

11           A      No.

12           Q      Who makes the security decisions for the

13       hotel?

14           A      All of us.

15           Q      Who's all of us?

16           A      Raman Bhai, Vinay Bhai, Apurva, and me.

17           Q      So in his -- in the Felder case in his

18       deposition, Mr. Vinay Patel testified that you were

19       responsible for security decision.            Is that incorrect?

20           A      No.

21           Q      So that was correct, then, that you're

22       responsible for the security decisions?

23           A      Yeah, that's correct.

24           Q      Okay.   So was it your decision or is it your

25       decision that you have not employed a security officer
                                                                            160

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 1       for the premises?

 2           A      Not all by myself.

 3           Q      Okay.   Who made the decision not to employ a

 4       security officer?

 5           A      Raman Patel.

 6           Q      By himself, Raman Patel?

 7           A      Mine too, Apurva, and Vinay.

 8           Q      Okay.   So you're saying it's all the owners'

 9       decision?

10           A      Yes.

11           Q      Okay.   So, again, back to the previous

12       question.    Was Mr. Patel incorrect in stating that you

13       were responsible for making those decisions?

14                  MR. HARRIS:      I'm going to -- objection.

15                  Go ahead.

16           A      It is not my own individual's decision.

17           Q      Okay.   Why did the ownership decide not to

18       have a security officer?

19           A      Because -- because there was no need for

20       security because the police is patrolling, and then the

21       lighting got increased, and there is more surveillance

22       to the cameras.

23           Q      Okay.

24                  MS. HUNDREDMARK:       I think, Roger,

25           that's all I have with regard to the
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